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                     IN THE UNITED STATES DISTRICT COURT

                   FOR THE WESTERN DISTRICT OF WISCONSIN

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GEORGE H. PETERS,
                                                                  OPINION AND ORDER
                             Plaintiff,
                                                                  05-C-649-C
              v.

ASTRAZENECA, LP and
PROCTER & GAMBLE DISTRIBUTING COMPANY,

                             Defendants.

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       Plaintiff George H. Peters, an inmate at the New Lisbon Correctional Facility in New

Lisbon, Wisconsin, filed this products liability action originally in the United States District

Court for the Eastern District of Wisconsin. The case was transferred to this court pursuant

to 28 U.S.C. § 1406(a). In this action, plaintiff contends that he lost his sense of taste after

taking omeprazole, a drug marketed and distributed by defendants, AstraZeneca, LP and

Procter & Gamble Distributing Co., under the brand name Prilosec.               Plaintiff seeks

compensatory and punitive damages based on state common law claims of strict liability and

negligence for defective product design and failure to warn.          Federal subject matter

jurisdiction is present under 28 U.S.C. § 1332.



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       Now before the court are defendants’ motion to dismiss plaintiff’s claims pursuant

to Fed. R. Civ. P. 12(b)(6), and defendants’ motion to stay discovery. Defendants’ first

motion raises questions whether Food and Drug Administration regulations preempt

plaintiff’s state common law claims and whether the court should abstain from hearing this

case in deference to the FDA’s primary jurisdiction and expertise. I conclude that plaintiff’s

claims are not preempted by FDA regulations and that the doctrine of primary jurisdiction

does not apply to this case; therefore, defendants’ motion to dismiss will be denied.

Defendants’ motion to stay discovery will be denied as moot.

       For the purpose of deciding defendants’ motion to dismiss, I draw the following facts

from plaintiff’s amended complaint.




                                ALLEGATIONS OF FACT

       Beginning in November 2003, plaintiff purchased and consumed omeprazole, an

over-the-counter drug sold under the brand name Prilosec. He purchased and used over-the-

counter Prilosec in Oklahoma during 2003 and “had the drug prescribed by a physician in

Portage and New Lisbon, Wisconsin.” (Presumably, because plaintiff is an inmate at the

New Lisbon Correctional Facility in Wisconsin, he needed a prescription even for an over-

the-counter drug.) Plaintiff continued to take over-the-counter Prilosec until January 2005

for treatment of stomach acid reflux disease. His consumption of Prilosec caused “special


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senses” damage to his tongue. Specifically, his tongue has become numb and he is unable

to taste food.

       Defendants were aware that over-the-counter Prilosec could cause damage to a

consumer’s special senses (that is, numbness of tongue, taste perversion, and taste loss), but

failed to adequately warn consumers of these harmful side effects. No warning relating to

special senses damages was included in the product package for over-the-counter Prilosec.

Had he been adequately and appropriately advised, notified, and warned that there was a

possibility of injury from the use of Prilosec, plaintiff “would have utilized other medical

procedures.”




                                          OPINION

       In their motion to dismiss, defendants contend that plaintiff’s claims are preempted

by federal law and the regulatory authority of the FDA. Alternatively, defendants argue that

the court should abstain from hearing this case in deference to the FDA’s primary

jurisdiction and expertise.

       As a preliminary matter, I note that in their reply brief, defendants raised for the first

time an additional argument that the “learned intermediary” doctrine should preclude

plaintiff’s claims in this case. Defs.’ Reply Br., at 4. They contend that because Prilosec was

prescribed to plaintiff by his physician and the drug’s adverse side effects were imparted to


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the treating physician in the Physician’s Desk Reference, the learned intermediary doctrine

absolves them of liability. As a general rule, arguments not raised until the reply brief are

deemed waived. Carter v. Tennant Co., 383 F.3d 673, 679 (7th Cir. 2004) (citing APS

Sports Collectibles, Inc. v. Sports Time, Inc., 299 F.3d 624, 631 (7th Cir. 2002)). In any

event, the argument would not succeed even if it had been raised properly.           As the

defendants concede, the Supreme Court of Wisconsin has not had occasion to decide the

applicability of the learned intermediary doctrine as it applies to drug manufacturers in

Wisconsin, Defs.’ Reply Br., at 4 n.1, and no Wisconsin appellate court has adopted the

doctrine, see, e.g., Kurer v. Parke, Davis & Co., 2004 WI App. 74, ¶ 21, 272 Wis. 2d 390,

679 N.W.2d 867 (declining to decide whether the learned intermediary doctrine applies to

medications prescribed for extended time periods). This court will not create Wisconsin law

without some indication that the state’s highest court would apply the doctrine if given the

opportunity to do so.

       In deciding defendants’ motion to dismiss, the court must accept as true all well-

pleaded facts alleged in the complaint and draw all reasonable inferences in favor of the

plaintiff. McMath v. City of Gary, 976 F.2d 1026, 1031 (7th Cir. 1992); Craigs, Inc. v.

General Electric Corp., 12 F.3d 686, 688 (7th Cir. 1993). Dismissal is proper only when

it is clear that no relief could be granted under any set of facts that could be proved

consistent with the allegations. Kunik v. Racine County, Wis., 946 F.2d 1574, 1579 (7th


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Cir. 1991).




                                        A. Preemption

       The United States Constitution provides that the laws of the United States “shall be

the supreme Law of the Land.” U.S. Const. art. VI, cl. 2. This means that federal laws or

regulations may preempt state laws that interfere with, or are contrary to, federal laws.

Hillsborough County v. Automated Med. Labs, Inc., 471 U.S. 707, 712 (1985). There are

three different ways a federal law may preempt state law:

       First, when acting within constitutional limits, Congress is empowered to
       pre-empt state law by so stating in express terms. In the absence of express
       pre-emptive language, Congress' intent to pre-empt all state law in a particular
       area may be inferred where the scheme of federal regulation is sufficiently
       comprehensive to make reasonable the inference that Congress left no room
       for supplementary state regulation. Pre-emption of a whole field also will be
       inferred where the field is one in which the federal interest is so dominant that
       the federal system will be assumed to preclude enforcement of state laws on
       the same subject.

       Even where Congress has not completely displaced state regulation in a
       specific area, state law is nullified to the extent that it actually conflicts with
       federal law. Such a conflict arises when compliance with both federal and state
       regulations is a physical impossibility, or when state law stands as an obstacle
       to the accomplishment and execution of the full purposes and objectives of
       Congress.

Id. at 712-13 (internal citations and quotations omitted). Here, express preemption is not

at issue; field and conflict preemption are.



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1. Field preemption

       Defendants contend that plaintiff’s claims are preempted because the “FDA [drug

labeling] process so thoroughly occupies the legislative field that it may be reasonably

inferred that Congress left no room for state product liability law to supplement it.” Defs.’

Motion at 7. The party contending that a claim is preempted bears the burden of

establishing preemption. In the absence of express preemption, there is a basic assumption

that Congress did not intend to displace state law. See, e.g., Maryland v. Louisiana, 451

U.S. 725, 746 (1981). This presumption is even stronger where the federal legislation or

regulations involve areas the states have traditionally occupied. Courts must presume that

the historic police powers of the states should not be superseded unless there is a clear and

manifest purpose of Congress. Geier v. Am. Honda Motor Co., 529 U.S. 861, 907 (2000).

Protecting health and safety is an area traditionally occupied by the states. Medtronic, Inc.

v. Lohr, 518 U.S. 470, 485 (1996) (noting “the historic primacy of state regulation of

matters of health and safety”); Ophthalmic Mut. Ins. Co. v. Musser, 143 F.3d 1062, 1066

(7th Cir. 1998).   Therefore, the duty Wisconsin law imposes upon manufacturers of

dangerous products to warn individuals of the product’s dangers falls within the state’s

traditional role of protecting the health and safety of its citizens. Accordingly, this court

must apply the anti-preemption presumption absent “clear evidence” of an intent on the part

of Congress or the FDA to preempt state products liability claims. See, e.g., Buckman Co.


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v. Plaintiffs’ Legal Comm., 531 U.S. 341, 352 (2001); Geier, 529 U.S. at 885; Hillsborough,

471 U.S. at 715.

       Defendants have failed to cite any authority supporting their theory that the FDA

drug labeling process “so thoroughly occupies the legislative field that it may be reasonably

inferred that Congress left no room for state product liability law to supplement it.” Defs.’

Br., at 7. Defendants cite § 379r of the Food, Drug, and Cosmetic Act, 21 U.S.C. §§ 379r,

which relates to national uniformity of nonprescription drugs, but do not explain how this

statute advances their argument regarding field preemption. In fact, defendants concede that

21 U.S.C. § 379r(e) provides an exception for state product liability laws. Defs.’ Br., at 6

n.2. Specifically, § 379r(e) provides, “Nothing in this section shall be construed to modify

or otherwise affect any action or the liability of any person under the product liability law

of any State.” Section 379r(e) leaves room explicitly for state product liability laws to

supplement the drug labeling process. Therefore, in the context of product liability, it is

clear that Congress did not intend to occupy the legislative field so thoroughly as to preempt

plaintiff’s claims.

       This finding is consistent with Wisconsin’s view that “a drug manufacturer’s

compliance with the FDA’s labeling requirements does not preempt state-law claims.”

Kurer, 2004 WI App. 74, ¶ 19. FDA drug labeling requirements impose only “minimum

standards” that are open to supplementation by state law. Id., ¶ 21; see also, Wells v. Ortho


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Pharmaceutical Corp., 788 F.2d 741, 746 (11th Cir. 1986) ("An FDA determination that

a warning is not necessary may be sufficient for federal regulatory purposes but still not be

sufficient for state tort law purposes."); Hill v. Searle Labs, 884 F.2d 1064, 1068 (8th Cir.

1989) ("FDA approval is not a shield to liability . . . . FDA regulations are generally

minimum standards of conduct unless Congress intended to preempt common law, which

Congress has not done in this area."); Kociemba v. Searle & Co., 680 F. Supp. 1293, 1299

(D. Minn. 1988); Mazur v. Merck & Co., 742 F. Supp. 239, 247 (E.D. Pa. 1990); Motus

v. Pfizer Inc., 127 F. Supp. 2d 1085, 1092 (C.D. Ca. 2000).




2. Conflict premption

       Similarly, defendants have failed to overcome the anti-preemption presumption by

showing clear evidence that plaintiff’s claims should be preempted because they present a

direct conflict with federal law. In order to prove a conflict, defendants must show either

(1) it is impossible for an individual to comply with both the challenged state law (in this

case, a common law duty to adequately warn patients taking over-the-counter Prilosec of the

risks of taking the drug) and federal law; or (2) the challenged state law stands as an obstacle

to the accomplishment and execution of the full purposes and objectives of Congress. See,

e.g., Crosby v. National Foreign Trade Council, 530 U.S. 363, 37273 (2000); Hillsborough

County, 471 U.S. at 712. Defendants have not made either of these showings.


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       In support of their argument that plaintiff’s claims are preempted, defendants cite

Needleman v. Pfizer, Inc., 2004 WL 1773697 (N.D. Tex April 6, 2004) and Dusek v. Pfizer,

Inc., 2004 WL 2191804 (S.D. Tex. Feb. 20, 2004), two federal cases in which the district

courts found preemption based on a conflict between Texas state law and FDA regulations.

However, as the defendants recognize in their brief, those cases were decided on motions for

summary judgment made after a sufficient factual record was developed. More to the point,

those courts did not make the broad finding of an implicit preemption of state law tort

claims based on a failure to warn theory. Rather, both courts found preemption of state

requirements actually conflicting with a standard implemented by the FDA. Needleman, 2004

WL 1773697, at * 2; Dusek, 2004 WL 2191804, at *5.

       In those cases, the courts based their determination whether a state requirement

actually conflicted with a standard implemented by the FDA on a detailed review of the

factual record. See id. In Needleman, the court found that the FDA had clearly determined

that an additional warning on a drug would be false, misleading, and harmful to patients.

Needleman, 2004 WL 1773697, at *2, *5. In Dusek, the court found that the FDA had

explicitly rejected an additional warning on a drug that the plaintiff requested and that the

additional warnings would be false and misleading. Dusek, 2004 WL 2191804, at *9. Thus,

the court found that inadequate warning claims would actually conflict with federal

requirements.


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       In this motion to dismiss, there is no such factual record evidencing an actual conflict.

The mere fact that the FDA does not require a warning on a product label does not

necessarily create a conflict. As explained above, FDA requirements impose only minimum

standards that are open to supplementation by state law. Drawing all reasonable inferences

in favor of the plaintiff, I find that plaintiff’s product liability claims are not preempted

based on the facts alleged in his amended complaint.




                                        B. Abstention

       Next, defendants argue that the court should abstain from deciding this case in

deference to the “primary jurisdiction” of the FDA. Defs.’ Br., at 9. The doctrine of primary

jurisdiction is concerned with promoting proper relationships between the courts and

administrative agencies charged with particular regulatory duties and applies where a claim

that is originally cognizable in courts “requires the resolution of issues which, under a

regulatory scheme, have been placed within the special competence of an administrative

body,” United States v. Western Pacific R.R. Co., 352 U.S. 59, 63-64 (1956). In deciding

whether to apply the primary jurisdiction doctrine, a court should take into account the

doctrine’s two primary interests: resolving technical questions of fact through an agency’s

specialized expertise prior to judicial consideration of the legal claims and consistency and

uniformity in the regulation of an area which Congress has entrusted to a specific agency.


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See, e.g., Nader v. Allegheny Airlines, Inc., 426 U.S. 290, 303-04 (1976). In the past, the

doctrine has been applied in matters that required the FDA’s special expertise to resolve an

issue in the first instance. See, e.g., Rutherford v. Am. Med. Ass’n, 379 F.2d 641 (7th Cir.

1967); Tutoki v. Celebrezze, 375 F.2d 105 (7th Cir. 1967). For example, in Rutherford,

379 F.2d at 643, the Seventh Circuit invoked the primary jurisdiction doctrine because an

essential element of the case required a showing that the drug in question would have been

approved or exempted by the FDA. Until the FDA acted on an application for approval or

exemption of the drug, judicial review was not appropriate. Id.

       In this case, it is unclear what issues, if any, defendants want the FDA to resolve. In

their reply brief, defendants allege that the FDA considered whether to require defendants

to warn against special senses damages, but decided not to require that warning when it

approved Prilosec for over-the-counter sale. Defs.’ Reply Br., at 2-3. Even assuming that

this is true, it demonstrates only that the FDA has already had an opportunity to pass on the

issue in the first instance.   However, "[a]n FDA determination that a warning is not

necessary may be sufficient for federal regulatory purposes but still not be sufficient for state

tort law purposes." Kurer, 2004 WI App. 74 , ¶ 21 (citing Wells, 788 F.2d at 746).

       Furthermore, plaintiff’s claims are grounded in state tort law. Although the issues

plaintiff raises require some technical analysis, questions such as whether Prilosec is a

defective product, whether defendants breached any duties owed to the plaintiff by failing


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to give adequate warnings and whether the plaintiff’s injuries were caused by defendants’

conduct are legal questions that fall within the conventional experience of judges, not

administrative agencies. Defendants fail to show how this case is any different from the

thousands of other personal injury suits regularly decided by courts.

       Finally, plaintiff seeks monetary damages only. A court may refuse to invoke primary

jurisdiction when a plaintiff is seeking damages for injury to his property or person, as this

is the type of relief courts routinely evaluate. Ryan v. Chemlawn Corp., 935 F.2d 129, 131

(7th Cir. 1991) (lower court improperly invoked primary jurisdiction doctrine when plaintiff

sought monetary damages only).         The FDA does not have authority to grant the

compensatory or punitive damages sought by plaintiff in this case.

       Because I do not find that the doctrine of primary jurisdiction is applicable to this

case, defendants’ motion to dismiss will be denied with respect to their request that the court

abstain from hearing this case in deference to the FDA.




                                           ORDER

       IT IS ORDERED THAT

       1.     The motion of defendants AstraZeneca, LP and Procter & Gamble

              Distributing Co. to dismiss is DENIED.




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2.    Defendants’ motion to stay discovery is DENIED as moot.




Entered this 3d day of March, 2006.

                                 BY THE COURT:
                                 /s/
                                 BARBARA B. CRABB
                                 District Judge




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